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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

 FRANK HALL, Individually and on behalf of           Case No.
 all others similarly situated,
                                                     CLASS ACTION COMPLAINT FOR
        Plaintiff,                                   VIOLATION OF THE FEDERAL
                                                     SECURITIES LAWS
        v.
                                                     JURY TRIAL DEMANDED
 JOHNSON & JOHNSON, ALEX GORSKY,
 and DOMINIC J. CARUSO,

        Defendants.


       Plaintiff Frank Hall (“Plaintiff”), individually and on behalf of all other persons similarly

situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against Defendants

(defined below), alleges the following based upon personal knowledge as to Plaintiff and

Plaintiff’s own acts, and information and belief as to all other matters, based upon, inter alia,

the investigation conducted by and through Plaintiff’s attorneys, which included, among other

things, a review of the defendants’ public documents, conference calls and announcements

made by defendants, United States Securities and Exchange Commission (“SEC”) filings, wire

and press releases published by and regarding Johnson & Johnson (“J&J” or the “Company”),

analysts’ reports and advisories about the Company, and information readily obtainable on the




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Internet. Plaintiff believes that substantial evidentiary support will exist for the allegations set

forth herein after a reasonable opportunity for discovery.

                                  NATURE OF THE ACTION

       1.      This is a federal securities class action on behalf of a class consisting of all

persons and entities other than Defendants who purchased or otherwise acquired the publicly

traded securities of J&J between February 22, 2013 and February 7, 2018, both dates inclusive

(the “Class Period”). Plaintiff seeks to recover compensable damages caused by Defendants’

violations of the federal securities laws and to pursue remedies under Sections 10(b) and 20(a) of

the Securities Exchange Act of 1934 (the “Exchange Act”) and Rule 10b-5 promulgated

thereunder.

       2.      J&J has known for decades that its talc products, such as its Baby Powder, include

asbestos fibers and that the exposure to those fibers can cause ovarian cancer and mesothelioma.

Accordingly, Defendants misrepresented and failed to disclose the danger that J&J’s talc

products posed to consumers, J&J’s significant contingent liability related to its talc products,

and that J&J’s revenues from sales of these products were unsustainable due to the dangerous

and harmful nature of its talc products.

       3.      In the 1990s, J&J outlined a plan to hike flagging sales of its powder “by

targeting” black and Hispanic women, according to a company memorandum made public in

recent lawsuits against J&J.

       4.      On September 21, 2017, Bloomberg published an article titled, “Johnson &

Johnson alerted to risk of asbestos in talc in '70s, files show,” stating that “documents indicate

that J&J has known for decades that its talc products include asbestos fibers and that the

exposure to those fibers can cause ovarian cancer.”



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       5.      On this news, shares of J&J fell $2.28 per share over five consecutive trading

days to close at $129.47 per share on September 28, 2017, damaging investors.

       6.      On February 5, 2018, CNBC published an article titled, “Johnson & Johnson falls

on report that lawsuits could expose potentially damaging documents.”

       7.      On this news, shares of J&J fell $7.29 per share or over 5% from its previous

closing price to close at $130.39 per share on February 5, 2018, damaging investors.

       8.      Then, on February 7, 2018, during aftermarket hours, the Beasley Allen Law Firm

issued a press release stating that “[l]awsuits filed by ovarian cancer and mesothelioma victims

are revealing never-before-seen documents from Johnson & Johnson and talc supplier, Imerys,

that shed light on just how prevalent asbestos and heavy metals are in the talc used in Baby

Powder.” The release stated that “[i]nternal Johnson & Johnson documents from 1972 note that

asbestos was found in 100 percent of talc samples tested at the time, but this information was

never released publicly.” It further stated that J&J stopped funding a project designed to test talc

samples for asbestos contamination once a majority of the sample batches were found to be

positive for asbestos.

                                JURISDICTION AND VENUE

       9.      The claims asserted herein arise under and pursuant to §§10(b) and 20(a) of the

Exchange Act (15 U.S.C. §§78j(b) and §78t(a)) and Rule 10b-5 promulgated thereunder by the

SEC (17 C.F.R. §240.10b-5).

       10.     This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§1331 and §27 of the Exchange Act.




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        11.      Venue is proper in this District pursuant to §27 of the Exchange Act (15 U.S.C.

§78aa) and 28 U.S.C. §1391(b) as Defendants conduct business and are headquartered within

this District.

        12.      In connection with the acts, conduct and other wrongs alleged in this Complaint,

Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

including but not limited to, the United States mail, interstate telephone communications and the

facilities of the national securities exchange.

                                             PARTIES

        13.      Plaintiff, as set forth in the accompanying Certification, purchased J&J securities

at artificially inflated prices during the Class Period and was damaged upon the revelation of the

alleged corrective disclosures.

        14.      Defendant J&J, together with its subsidiaries, researches and develops,

manufactures, and sells various products in the health care field worldwide. The Company is

incorporated in New Jersey and its principal executive offices are located at One Johnson &

Johnson Plaza, New Brunswick, New Jersey, 08933. J&J’s common stock is traded on the New

York Stock Exchange (“NYSE”) under the ticker symbol “JNJ.”

        15.      Defendant Alex Gorsky (“Gorsky”) has been the Chairman and Chief Executive

Officer of J&J since December 28, 2012 and April 26, 2012 respectively.

        16.      Defendant Dominic J. Caruso (“Caruso”) has been the Chief Financial Officer at

J&J since January 1, 2007 and has been its Executive Vice President since May 2, 2016.

        17.      Defendants Gorsky and Caruso are sometimes referred to herein as the

“Individual Defendants.”

        18.      Each of the Individual Defendants:



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       (a)    directly participated in the management of the Company;

       (b)    was directly involved in the day-to-day operations of the Company at the highest

              levels;

       (c)    was privy to confidential proprietary information concerning the Company and its

              business and operations;

       (d)    was directly or indirectly involved in drafting, producing, reviewing and/or

              disseminating the false and misleading statements and information alleged herein;

       (e)    was directly or indirectly involved in the oversight or implementation of the

              Company’s internal controls;

       (f)    was aware of or recklessly disregarded the fact that the false and misleading

              statements were being issued concerning the Company; and/or

       (g)    approved or ratified these statements in violation of the federal securities laws.

       19.    The Company is liable for the acts of the Individual Defendants and its employees

under the doctrine of respondeat superior and common law principles of agency because all of

the wrongful acts complained of herein were carried out within the scope of their employment.

       20.    The scienter of the Individual Defendants and other employees and agents of the

Company is similarly imputed to the Company under respondeat superior and agency principles.

       21.    The Company and the Individual Defendants are referred to herein, collectively,

as the “Defendants.”

                              SUBSTANTIVE ALLEGATIONS

                        Materially False and Misleading Statements

       22.    On February 22, 2013, the Company filed a Form 10-K for the fiscal year ended

December 30, 2012 (the “2012 10-K”) with the SEC, which provided the Company’s year-end



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financial results and position and stated that the Company’s disclosure controls and

procedures was effective as of December 30, 2012. The 2012 10-K stated that Management’s

Report on Internal Control Over Financial Reporting “is incorporated herein by reference to the

material under the caption ‘Management’s Report on Internal Control Over Financial Reporting’

of the Annual Report, filed as Exhibit 13 to this Report on Form 10-K.” Exhibit 13 to the 2012

10-K stated that the Company’s internal control over financial reporting was effective as of

December 30, 2012. The 2012 10-K was signed by Defendants Gorsky and Caruso. The 2012

10-K also contained signed certifications pursuant to the Sarbanes-Oxley Act of 2002 (“SOX”)

by Defendants Gorsky and Caruso attesting to the accuracy of financial reporting, the disclosure

of any material changes to the Company’s internal controls over financial reporting, and the

disclosure of all fraud.

        23.     The 2012 10-K discussed J&J’s baby products, stating in pertinent part:

        The Consumer segment includes a broad range of products used in the baby care,
        skin care, oral care, wound care and women’s health care fields, as well as
        nutritional and over-the-counter pharmaceutical products, and wellness and
        prevention platforms. The Baby Care franchise includes the JOHNSON’S® Baby
        line of products.


        24.     The 2012 10-K discussed J&J’s commitment to “delivering high quality and

innovative products,” and its research activities of “demonstrating product efficacy and

regulatory compliance prior to launch,” stating in pertinent part:

        Research and Development

            Research activities represent a significant part of the Company’s businesses.
        Research and development expenditures relate to the processes of discovering,
        testing and developing new products, improving existing products, as well as
        demonstrating product efficacy and regulatory compliance prior to launch.
        The Company remains committed to investing in research and development
        with the aim of delivering high quality and innovative products…



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        Environment

           The Company is subject to a variety of U.S. and international environmental
        protection measures. The Company believes that its operations comply in all
        material respects with applicable environmental laws and regulations.

                                         *       *       *

        Management’s Objectives
        The Company manages within a strategic framework aimed at achieving
        sustainable growth. To accomplish this, the Company’s management operates the
        business consistent with certain strategic principles that have proven successful
        over time. To this end, the Company participates in growth areas in human health
        care and is committed to attaining leadership positions in these growth areas
        through the development of high quality, innovative products and services.

        [Emphasis added].

        25.     The 2012 10-K discussed the regulations that J&J is subject to, including U.S.

regulations concerning “product safety, efficacy, manufacturing, advertising, labeling and safety

reporting,” stating in pertinent part:

        Most of the Company’s businesses are subject to varying degrees of governmental
        regulation in the countries in which operations are conducted, and the general
        trend is toward increasingly stringent regulation. In the United States, the drug,
        device, diagnostics and cosmetic industries have long been subject to regulation
        by various federal and state agencies, primarily as to product safety, efficacy,
        manufacturing, advertising, labeling and safety reporting.


        26.     Exhibit 13 to the 2012 10-K discussed that the risks and uncertainties facing the

Company are, among others, “product efficacy or safety concerns resulting in product recalls or

regulatory action.”

        27.     Exhibit 13 to the 2012 10-K discussed the product liability cases against J&J’s

subsidiaries, while stating that its “subsidiaries are confident of the adequacy of the warnings

and instructions for use that accompany the products at issue,” stating in pertinent part:

        Certain subsidiaries of Johnson & Johnson are involved in numerous product
        liability cases. The damages claimed are substantial, and while these subsidiaries

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       are confident of the adequacy of the warnings and instructions for use that
       accompany the products at issue, it is not feasible to predict the ultimate
       outcome of litigation. The Company has established product liability accruals in
       compliance with ASC 450-20 based on currently available information, which in
       some cases may be limited. Changes to the accruals may be required in the future
       as additional information becomes available.

       [Emphasis added].


       28.     On February 21, 2014, the Company filed a Form 10-K for the fiscal year ended

December 29, 2013 (the “2013 10-K”) with the SEC, which provided the Company’s year-end

financial results and position and stated that the Company’s disclosure controls and

procedures was effective as of December 29, 2013. The 2013 10-K stated that Management’s

Report on Internal Control Over Financial Reporting “is incorporated herein by reference to the

material under the caption ‘Management’s Report on Internal Control Over Financial Reporting’

of the Annual Report, filed as Exhibit 13 to this Report on Form 10-K.” Exhibit 13 to the 2013

10-K stated that the Company’s internal control over financial reporting was effective as of

December 29, 2013. The 2013 10-K was signed by Defendants Gorsky and Caruso. The 2013

10-K also contained signed SOX certifications by Defendants Gorsky and Caruso attesting to

the accuracy of financial reporting, the disclosure of any material changes to the Company’s

internal controls over financial reporting, and the disclosure of all fraud.

       29.     The 2013 10-K discussed J&J’s baby products, stating in pertinent part:

       The Consumer segment includes a broad range of products used in the baby care,
       skin care, oral care, wound care and women’s health fields, as well as nutritionals,
       over-the-counter pharmaceutical products and wellness and prevention platforms.
       The Baby Care franchise includes the JOHNSON’S® Baby line of products.




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        30.     The 2013 10-K discussed J&J’s commitment to “delivering high quality and

innovative products,” and its research activities of “demonstrating product efficacy and

regulatory compliance prior to launch,” stating in pertinent part:

        Research and Development

              Research activities represent a significant part of the Company’s businesses.
        Research and development expenditures relate to the processes of discovering,
        testing and developing new products, improving existing products, as well as
        demonstrating product efficacy and regulatory compliance prior to launch.
        The Company remains committed to investing in research and development
        with the aim of delivering high quality and innovative products…

        Environment

             The Company is subject to a variety of U.S. and international environmental
        protection measures. The Company believes that its operations comply in all
        material respects with applicable environmental laws and regulations.

                                         *       *       *

             The Company engages in areas of human health care where there is an
        opportunity to make a meaningful difference, and is committed to creating value
        by developing broadly accessible, high quality, innovative products and services.

        [Emphasis added].

        31.     The 2013 10-K discussed the regulations that J&J is subject to, including U.S.

regulations concerning “product safety, efficacy, manufacturing, advertising, labeling and safety

reporting,” stating in pertinent part:

        Most of the Company’s businesses are subject to varying degrees of governmental
        regulation in the countries in which operations are conducted, and the general
        trend is toward increasingly stringent regulation. In the United States, the drug,
        device, diagnostics and cosmetic industries have long been subject to regulation
        by various federal and state agencies, primarily as to product safety, efficacy,
        manufacturing, advertising, labeling and safety reporting.




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        32.     Exhibit 13 to the 2013 10-K discussed that the risks and uncertainties facing the

Company are, among others, “product efficacy or safety concerns resulting in product recalls or

regulatory action.”

        33.     Exhibit 13 to the 2013 10-K discussed the product liability cases against J&J’s

subsidiaries, while stating that its “subsidiaries believe they have substantial defenses,” stating

in pertinent part:

        Certain subsidiaries of Johnson & Johnson are involved in numerous product
        liability claims and lawsuits involving multiple products. Claimants in these cases
        seek substantial compensatory and, where available, punitive damages. While
        these subsidiaries believe they have substantial defenses, it is not feasible to
        predict the ultimate outcome of litigation. The Company has established product
        liability accruals in compliance with ASC 450-20 based on currently available
        information, which in some cases may be limited. Changes to the accruals may be
        required in the future as additional information becomes available.

        [Emphasis added].

        34.     On May 12, 2014, J&J issued the following statement in an article published by

Fox 32, titled “Popular Baby Powder Allegedly Caused Cancer in Pro-Figure Skater”:

        “We have no higher responsibility than the health and safety of consumers who
        rely on our products. It is important for consumers to know that the safety of
        cosmetic talc is supported by decades of scientific evidence and independent peer-
        reviewed studies.”

        35.     On February 24, 2015, the Company filed a Form 10-K for the fiscal year ended

December 28, 2014 (the “2014 10-K”) with the SEC, which provided the Company’s year-end

financial results and position and stated that the Company’s disclosure controls and

procedures was effective as of December 28, 2014. The 2014 10-K stated that Management’s

Report on Internal Control Over Financial Reporting “is incorporated herein by reference to the

material under the caption ‘Management’s Report on Internal Control Over Financial Reporting’

of the Annual Report, filed as Exhibit 13 to this Report on Form 10-K.” Exhibit 13 to the 2014



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10-K stated that the Company’s internal control over financial reporting was effective as of

December 28, 2014. The 2014 10-K was signed by Defendants Gorsky and Caruso. The 2014

10-K also contained signed SOX certifications by Defendants Gorsky and Caruso attesting to

the accuracy of financial reporting, the disclosure of any material changes to the Company’s

internal controls over financial reporting, and the disclosure of all fraud.

       36.     The 2014 10-K discussed J&J’s baby products, stating in pertinent part:

       The Consumer segment includes a broad range of products used in the baby care,
       oral care, skin care, over-the-counter pharmaceutical, women’s health and wound
       care markets. Baby Care includes the JOHNSON’S® Baby line of products.

       37.     The 2014 10-K discussed J&J’s commitment to “delivering high quality and

innovative products,” and its research activities of “demonstrating product efficacy and

regulatory compliance prior to launch,” stating in pertinent part:

       Research and Development

             Research activities represent a significant part of the Company’s
       businesses. Research and development expenditures relate to the processes of
       discovering, testing and developing new products, improving existing products, as
       well as demonstrating product efficacy and regulatory compliance prior to
       launch. The Company remains committed to investing in research and
       development with the aim of delivering high quality and innovative
       products…

       Environment

              The Company is subject to a variety of U.S. and international
       environmental protection measures. The Company believes that its operations
       comply in all material respects with applicable environmental laws and
       regulations.

                                          *       *       *

             The Company engages in areas of human health care where there is an
       opportunity to make a meaningful difference, and is committed to creating value
       by developing broadly accessible, high quality, innovative products and services.

       [Emphasis added].

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        38.     The 2014 10-K discussed the regulations that J&J is subject to, including U.S.

regulations concerning “product safety, efficacy, manufacturing, advertising, labeling and safety

reporting,” stating in pertinent part:

        Most of the Company’s businesses are subject to varying degrees of governmental
        regulation in the countries in which operations are conducted, and the general
        trend is toward increasingly stringent regulation. In the U.S., the drug, device,
        diagnostics and cosmetic industries have long been subject to regulation by
        various federal and state agencies, primarily as to product safety, efficacy,
        manufacturing, advertising, labeling and safety reporting.

        39.     Exhibit 13 to the 2014 10-K discussed that the risks and uncertainties facing the

Company are, among others, “product efficacy or safety concerns resulting in product recalls or

regulatory action.”

        40.     Exhibit 13 to the 2014 10-K discussed the product liability cases against J&J’s

subsidiaries, while stating that its “subsidiaries believe they have substantial defenses,” stating

in pertinent part:

        Certain subsidiaries of Johnson & Johnson are involved in numerous product
        liability claims and lawsuits involving multiple products. Claimants in these cases
        seek substantial compensatory and, where available, punitive damages. While
        these subsidiaries believe they have substantial defenses, it is not feasible to
        predict the ultimate outcome of litigation. The Company has established product
        liability accruals in compliance with ASC 450-20 based on currently available
        information, which in some cases may be limited. In addition, product liability
        accruals can represent projected product liability for thousands of claims around
        the world, each in different litigation environments and with different fact
        patterns. Changes to the accruals may be required in the future as additional
        information becomes available.

        [Emphasis added].

        41.     On April 8, 2015, J&J stated on its website that:

        “Various agencies and governmental bodies have examined whether talc is a
        carcinogen, and none have concluded that it is. These include the U.S. Food and
        Drug Administration and National Toxicology Program, part of the U.S.
        Department of Health and Human services.”



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       42.     On February 24, 2016, the Company filed a Form 10-K for the fiscal year ended

January 3, 2016 (the “2015 10-K”) with the SEC, with the SEC, which provided the Company’s

year-end financial results and position and stated that the Company’s internal control over

financial reporting and disclosure controls and procedures were effective as of January 3, 2016.

The 2015 10-K was signed by Defendants Gorsky and Caruso. The 2015 10-K also contained

signed SOX certifications by Defendants Gorsky and Caruso attesting to the accuracy of

financial reporting, the disclosure of any material changes to the Company’s internal controls

over financial reporting, and the disclosure of all fraud.

       43.     The 2015 10-K discussed J&J’s baby products, stating in pertinent part:

       The Consumer segment includes a broad range of products used in the baby care,
       oral care, skin care, over-the-counter pharmaceutical, women’s health and wound
       care markets. Baby Care includes the JOHNSON’S® line of products.

       44.     The 2015 10-K discussed J&J’s commitment to “delivering high quality and

innovative products,” and its research activities of “demonstrating product efficacy and

regulatory compliance prior to launch,” stating in pertinent part:

       Research and Development

             Research activities represent a significant part of the Company’s
       businesses. Research and development expenditures relate to the processes of
       discovering, testing and developing new products, improving existing products, as
       well as demonstrating product efficacy and regulatory compliance prior to
       launch. The Company remains committed to investing in research and
       development with the aim of delivering high quality and innovative
       products…

       Environment

              The Company is subject to a variety of U.S. and international
       environmental protection measures. The Company believes that its operations
       comply in all material respects with applicable environmental laws and
       regulations.

                                          *       *          *

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               The Company is broadly based in human health care, and is committed to
        creating value by developing accessible, high quality, innovative products and
        services.

        [Emphasis added].

        45.     The 2015 10-K discussed the regulations that J&J is subject to, including U.S.

regulations concerning “product safety, efficacy, manufacturing, advertising, labeling and safety

reporting,” stating in pertinent part:

        The Company’s businesses are subject to varying degrees of governmental
        regulation in the countries in which operations are conducted, and the general
        trend is toward increasingly stringent regulation. In the U.S., the drug, device and
        cosmetic industries have long been subject to regulation by various federal and
        state agencies, primarily as to product safety, efficacy, manufacturing,
        advertising, labeling and safety reporting.

        46.     The 2015 10-K discussed that the risks and uncertainties facing the Company are,

among others, “product efficacy or safety concerns resulting in product recalls or regulatory

action.”

        47.     The 2015 10-K discussed the product liability cases against J&J’s subsidiaries,

while stating that its “subsidiaries believe they have substantial defenses,” stating in pertinent

part:

        Certain subsidiaries of Johnson & Johnson are involved in numerous product
        liability claims and lawsuits involving multiple products. Claimants in these cases
        seek substantial compensatory and, where available, punitive damages. While
        these subsidiaries believe they have substantial defenses, it is not feasible to
        predict the ultimate outcome of litigation. The Company has established accruals
        for product liability claims and lawsuits in compliance with ASC 450-20 based on
        currently available information, which in some cases may be limited. The
        Company accrues an estimate of the legal defense costs needed to defend each
        matter. For certain of these matters, the Company has accrued additional amounts
        such as estimated costs associated with settlements, damage and other losses.
        Product liability accruals can represent projected product liability for thousands of
        claims around the world, each in different litigation environments and with
        different fact patterns. Changes to the accruals may be required in the future as
        additional information becomes available.

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        [Emphasis added].

        48.     On December 30, 2016, J&J touted the safety and effectiveness of talc in its

products on its website at https://www.safetyandcarecommitment.com/Ingredients/Talc, stating

in pertinent part:


        In our products

        We continue to use talc in our products because decades of science have
        reaffirmed its safety. Because of its safety and effectiveness, we confidently
        include pharmaceutical grade talc in our products. Your trust in our products
        and your confidence using them every day is a huge responsibility—that’s why
        we only use ingredients in our products deemed safe by the latest science.

        Science, research, clinical evidence and 30 years of studies by medical experts
        around the world continue to support the safety of cosmetic talc.

        49.     On February 27, 2017, the Company filed a Form 10-K for the fiscal year ended

January 1, 2017 (the “2016 10-K”) with the SEC, with the SEC, which provided the Company’s

year-end financial results and position and stated that the Company’s internal control over

financial reporting and disclosure controls and procedures were effective as of January 1, 2017.

The 2016 10-K was signed by Defendants Gorsky and Caruso. The 2016 10-K also contained

signed SOX certifications by Defendants Gorsky and Caruso attesting to the accuracy of

financial reporting, the disclosure of any material changes to the Company’s internal controls

over financial reporting, and the disclosure of all fraud.

        50.     The 2016 10-K discussed J&J’s baby products, stating in pertinent part:

        The Consumer segment includes a broad range of products used in the baby care,
        oral care, beauty (previously referred to as skin care), over-the-counter
        pharmaceutical, women’s health and wound care markets. Baby Care includes the
        JOHNSON’S® line of products.




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       51.     The 2016 10-K discussed the pending lawsuits against J&J and its subsidiaries

based on nondisclosure of alleged health risks associated with talc contained in J&J’s baby

products, stating in pertinent part:

       Claims for personal injury have been made against Johnson & Johnson Consumer
       Inc. and Johnson & Johnson arising out of the use of JOHNSON'S® Baby Powder.
       The number of pending product liability lawsuits continues to increase, and the
       Company continues to receive information with respect to potential costs and the
       anticipated number of cases. Lawsuits have been primarily filed in state courts in
       Missouri, New Jersey and California. In addition, a federal multi-district litigation
       proceeding has been created for this litigation in the District Court of New Jersey.
       The Company has established an accrual for defense costs in connection with
       product liability litigation associated with JOHNSON'S® Baby Powder. Changes
       to this accrual may be required in the future as additional information becomes
       available.

                                         *      *       *

       In June 2014, the Mississippi Attorney General filed a complaint in Chancery
       Court of The First Judicial District of Hinds County, Mississippi against Johnson
       & Johnson and Johnson & Johnson Consumer Companies, Inc. (now Johnson &
       Johnson Consumer Inc.) (JJCI). The complaint alleges that defendants failed to
       disclose alleged health risks associated with female consumers' use of talc
       contained in JOHNSON'S® Baby Powder and JOHNSON'S® Shower to Shower
       (a product no longer sold by JJCI) and seeks injunctive and monetary relief. This
       matter is currently scheduled for trial in September 2017.

                                         *      *       *

       In May 2014, two purported class actions were filed in federal court, one in the
       United States District Court for the Central District of California and one in the
       United States District Court for the Southern District of Illinois, against Johnson
       & Johnson (J&J) and Johnson & Johnson Consumer Companies, Inc. (now
       Johnson & Johnson Consumer Inc.) (JJCI), alleging violations of state consumer
       fraud statutes based on nondisclosure of alleged health risks associated with talc
       contained in JOHNSON'S® Baby Powder and JOHNSON'S® Shower to Shower (a
       product no longer sold by JJCI). Both cases seek injunctive relief and monetary
       damages; neither includes a claim for personal injuries. In October 2016, both
       cases were transferred to the United States District Court for the District Court of
       New Jersey as part of a newly created federal multi-district litigation. In
       December 2016, J&J and JJCI filed a motion to dismiss one of the cases.




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        52.     The 2016 10-K discussed J&J’s commitment to “delivering high quality and

innovative products,” and its research activities of “demonstrating product efficacy and

regulatory compliance prior to launch,” stating in pertinent part:

        Research and Development

               Research activities represent a significant part of the Company’s
        businesses. Research and development expenditures relate to the processes of
        discovering, testing and developing new products, improving existing products, as
        well as demonstrating product efficacy and regulatory compliance prior to launch.
        The Company remains committed to investing in research and development with
        the aim of delivering high quality and innovative products…

        Environment

               The Company is subject to a variety of U.S. and international
        environmental protection measures. The Company believes that its operations
        comply in all material respects with applicable environmental laws and
        regulations.

                                             *        *      *

               The Company is broadly based in human health care, and is committed to
        creating value by developing accessible, high quality, innovative products
        and services.

        [Emphasis added].

        53.     The 2016 10-K discussed the regulations that J&J is subject to, including U.S.

regulations concerning “product safety, efficacy, manufacturing, advertising, labeling and safety

reporting,” stating in pertinent part:

        The Company’s businesses are subject to varying degrees of governmental
        regulation in the countries in which operations are conducted, and the general
        trend is toward increasingly stringent regulation. In the U.S., the drug, device and
        cosmetic industries have long been subject to regulation by various federal and
        state agencies, primarily as to product safety, efficacy, manufacturing,
        advertising, labeling and safety reporting.

        54.     The 2016 10-K discussed that the risks and uncertainties facing the Company are,

among others, “[p]roduct efficacy or safety concerns, whether or not based on scientific

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evidence, potentially resulting in product withdrawals, recalls, regulatory action on the part of

the U.S. Food and Drug Administration (or international counterparts), declining sales and

reputational damage.”

       55.        The 2016 10-K discussed the product liability cases against J&J and it’s

subsidiaries, while stating that “the Company believes it has substantial defenses,” stating in

pertinent part:

       Johnson & Johnson and certain of its subsidiaries are involved in numerous
       product liability claims and lawsuits involving multiple products. Claimants in
       these cases seek substantial compensatory and, where available, punitive
       damages. While the Company believes it has substantial defenses, it is not
       feasible to predict the ultimate outcome of litigation. The Company has
       established accruals for product liability claims and lawsuits in compliance with
       ASC 450-20 based on currently available information, which in some cases may
       be limited. The Company accrues an estimate of the legal defense costs needed to
       defend each matter when those costs are probable and can be reasonably
       estimated. For certain of these matters, the Company has accrued additional
       amounts such as estimated costs associated with settlements, damages and other
       losses. To the extent adverse verdicts have been rendered against the Company,
       the Company does not record an accrual until a loss is determined to be probable
       and can be reasonably estimated. Product liability accruals can represent projected
       product liability for thousands of claims around the world, each in different
       litigation environments and with different fact patterns. Changes to the accruals
       may be required in the future as additional information becomes available.

       The most significant of these cases include the DePuy ASR™ XL Acetabular
       System and DePuy ASR™ Hip Resurfacing System, the PINNACLE®
       Acetabular Cup System, pelvic meshes, RISPERDAL®, XARELTO® and
       JOHNSON'S® Baby Powder. As of January 1, 2017, in the U.S. there were
       approximately 2,000 plaintiffs with direct claims in pending lawsuits regarding
       injuries allegedly due to the DePuy ASR™ XL Acetabular System and DePuy
       ASR™ Hip Resurfacing System, 9,400 with respect to the PINNACLE®
       Acetabular Cup System, 54,800 with respect to pelvic meshes, 18,500 with
       respect to RISPERDAL®, 16,900 with respect to XARELTO® and 3,100 with
       respect to JOHNSON'S® Baby Powder.

       [Emphasis added].




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        56.     On July 1, 2017, J&J touted the safety and effectiveness of talc in its products on

its website at https://www.johnsonsbaby.com.ph/baby-products/johnsons-baby-powder, stating

in pertinent part:


        Is talc safe for my baby’s skin?

        JOHNSON’S® Baby talc products are made using U.S. Pharmacopeial (USP)
        grade talc to ensure it meets the highest-quality, purity and compliance standards.
        Our talc is carefully selected, processed and tested to ensure that is asbestos
        free, as confirmed by regular testing conducted since the 1970s.

        Our confidence in using talc is based on a long history of safe use and more than
        30 years of research by independent researchers, scientific review boards and
        global regulatory authorities.

        Read       more     about     our    Safety    &      Care       Commitment
        here: http://www.safetyandcarecommitment.com/ingredient-info/other/talc

        [Emphasis added].

        57.     On September 21, 2017, Ernie Knewitz, a spokesman for J&J, said in an emailed

statement to Bloomberg that:

        “We are confident that our talc products are, and always have been, free of
        asbestos, based on decades of monitoring, testing and regulation,” Knewitz said.
        “Historical testing of samples by the FDA, numerous independent laboratories,
        and numerous independent scientists have all confirmed the absence of asbestos
        in our talc products.”

        58.     On November 16, 2017, Reuters published an article titled, “Johnson & Johnson

wins California lawsuit claiming asbestos in talc caused cancer,” wherein J&J was quoted stating

that “Johnson’s Baby Powder has been around since 1894 and it does not contain asbestos or

cause mesothelioma or ovarian cancer.”

        59.     The statements referenced in ¶¶ 22 - 58 above were materially false and/or

misleading because they misrepresented and failed to disclose the following adverse facts

pertaining to the Company’s business, operational and financial results, which were known to

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Defendants or recklessly disregarded by them. Specifically, Defendants made false and/or

misleading statements and/or failed to disclose that: (1) J&J has known for decades that its talc

products include asbestos fibers and that the exposure to those fibers can cause ovarian cancer

and mesothelioma; and (2) as a result, Defendants’ public statements were materially false and

misleading at all relevant times.

                                         The Truth Emerges

        60.     On June 2, 2016, Reuters published an article titled, “Talc linked to ovarian

cancer risk in African-American women,” stating that J&J targeted its powder products to

minorities, stating in pertinent part:

        In the 1990s, Johnson and Johnson outlined a plan to hike flagging sales of its
        powder “by targeting” black and Hispanic women, according to a company
        memorandum made public in recent lawsuits leading to multimillion-dollar
        verdicts against the powder manufacturer.


        61.     On September 21, 2017, Bloomberg published an article titled, “Johnson &

Johnson alerted to risk of asbestos in talc in '70s, files show,” stating that “documents indicate

that J&J has known for decades that its talc products include asbestos fibers and that the

exposure to those fibers can cause ovarian cancer,” stating in pertinent part:


               J&J Was Alerted to Risk of Asbestos in Talc in ’70s, Files Show

        By Jef Feeley, Margaret Cronin Fisk, and Jared S Hopkins

        September 21, 2017, 10:49 PM EDT Updated on September 22, 2017, 11:50 AM
        EDT

        Documents unsealed in suit show traces of carcinogen in mine

        J&J’s tests going back to 1972 find no traces of asbestos

        Johnson & Johnson trained its employees to reassure anyone concerned about
        whether the company’s talcum powder contained asbestos that the cancer-causing


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     substance “has never been found and it never will’’ in its iconic baby powder,
     according to an undated memo unsealed in a lawsuit against the drugmaker.

     But plaintiffs say other unsealed documents indicate that J&J has known for
     decades that its talc products include asbestos fibers and that the exposure to
     those fibers can cause ovarian cancer. The talc used by J&J to make its
     products “is not now, nor has it ever been, free from asbestos and
     asbestiform fibers,’’ according to the lawsuit filed on behalf of more than 50
     women in St. Louis.

     The unsealed documents add another dimension to the claims against J&J as it
     defends itself from more than 5,000 suits across the U.S. blaming its baby powder
     products for causing women to develop ovarian cancer. While five juries have
     ruled against J&J, the company has won one case and had some other claims
     thrown out.

     One of the documents unsealed Sept. 6 indicates that in May 1974, an official at
     J&J’s Windsor mine in Vermont recommended “the use of citric acid in the
     depression of chrysotile asbestos’’ from talc extracted from the site.

     “The use of these systems is strongly urged by this writer to provide protection
     against what are currently considered to be materials presenting a severe health
     hazard and are potentially present in all talc ores in use at this time,’’ the mine’s
     director of research and development wrote then.

                                       *      *       *

     The unsealed files were used as part of an April pre-trial deposition given
     by Joanne Waldstreicher, J&J’s chief medical officer since 2013. Under
     questioning by plaintiffs’ lawyer Mark Lanier, Waldstreicher maintained that
     J&J’s baby powder products are asbestos free. We have experts that assure there’s
     no asbestos in our talc,” she told the lawyer.
     Consumer Safety

     According to the undated training memo, J&J representatives continued to
     reiterate at medical conferences that there wasn’t any asbestos in the company’s
     talc-based products.

     “Though there will never be a problem with Johnson & Johnson talc, we also
     endeavor vigorously to keep an eye on all the sources of talc worldwide, which
     might be used by other powder manufacturers and sold here,’’ officials said.

     In 1973, a company report about J&J’s Windsor Materials talc mine in Vermont
     noted that officials were working with federal officials to check for fibers that
     could indicate the presence of asbestos at the site.

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     A J&J official said in that report that the company’s baby powder “contains talc
     fragments classifiable as fiber. Occasionally sub-trace quantities of” two types of
     asbestos “are identifiable and these might be classified as asbestos fiber.’’

     Concerned that asbestos may have tainted talc used in the company’s products, a
     J&J official suggested the company move toward using corn starch in its
     consumer products rather than talc, according to the report.

     According to the unsealed documents, J&J also pushed to stop the distribution of
     a booklet revealing the discovery of trace amounts of asbestos in the talc the
     company bought from an Italian mine. Owners of the Val Chisone mine near
     Turin produced the booklet in 1974 to market the site’s talc.

     “The business threat” with the Italian publication, according to a J&J research
     scientist, “is that it can raise doubts on the validity of the documentation of purity
     and safety of talc.’’

     The scientist persuaded the mine’s owners to stop distributing English-language
     versions of the booklet until J&J officials could rewrite it, according to the
     unsealed documents.

     Trace Amounts

     J&J contends that testing at the Val Chisone mine two years before the marketing
     pamphlet was written showed no evidence of asbestos at the site. Dr. F.D. Pooley
     of University College, Cardiff, Wales, said in a 1972 report that “no chrysotile
     was found at the mine or in the samples taken.”

     “Some tremolite was located, but was not asbestiform in character and has not
     been detected in talc imported into Great Britain for the past year,” Pooley said,
     according to documents provided by J&J, “nor in shipments dating back to 1949.’’

     Even trace amounts of asbestos in talc products pose a cancer risk, said Dr. Barry
     Castleman, a consultant hired by government agencies and health groups to gauge
     the health effects of the once-commonly used insulation material. He has testified
     for plaintiffs in asbestos cases, not in talc cases.

     “It is a problem even if it’s found in small amounts in talc, especially because it’s
     used by children and women,” Castleman said in an interview. He added that he
     wrote J&J in 1972 pointing out that asbestos in talc consumer products could
     cause serious health problems. “They responded that there was no asbestos in
     their talc,” Castleman said.




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       Lanier, the plaintiffs’ lawyer, asked Waldstreicher during her deposition if she’d
       seen the rewritten version of the mine booklet in which all references to asbestos
       were stricken. “I don’t see that here,” she said.
       Lanier also pointed to some studies of J&J’s talc products that he said found
       asbestos, and questioned whether the company should have warned consumers
       about those findings. He asked her specifically about the Windsor mine testing,
       and she said “40 years ago, there could have been different types of testing that
       may not be as accurate as the testing we have today.”

       “Would you agree that if asbestos is in the product, you all ought to be warning
       people?’’ Lanier asked. At first, Waldstreicher responded that it was a
       “hypothetical question.” Eventually, she conceded.

       “I would like to be warned before I were around any cancer-causing substance,’’
       she said.

       62.     On this news, shares of J&J fell $2.28 per share over five consecutive trading

days to close at $129.47 per share on September 28, 2017, damaging investors.

       63.     On February 5, 2018, CNBC published an article titled, “Johnson & Johnson falls

on report that lawsuits could expose potentially damaging documents,” stating in pertinent part:

          Johnson & Johnson falls on report that lawsuits could expose potentially
                                  damaging documents


          •   Johnson & Johnson's stock fell on a report that court proceedings could
              expose potentially damaging documents.

          •   J&J is facing numerous lawsuits claiming its talc products such as
              Johnson's Baby Powder caused cancer.

          •   Johnson & Johnson has said baby powder does not contain asbestos and
              does not cause ovarian cancer or mesothelioma.

       Angelica LaVito | @angelicalavito
       Published 1:01 PM ET Mon, 5 Feb 2018 Updated 4:46 PM ET Mon, 5 Feb 2018

       Shares of Johnson & Johnson fell Monday on a report that court proceedings
       could expose potentially damaging documents.

       J&J is facing numerous lawsuits claiming its talc products such as Johnson's Baby
       Powder caused cancer. The company has insisted its baby powder does not
       contain asbestos and causes neither mesothelioma nor ovarian cancer.

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       In a statement, a J&J spokesman pointed to a California judge ruling in favor of
       J&J in November in a lawsuit by a woman who said she developed mesothelioma
       after using the company's talc-based products. He said the company would
       continue to defend its position in future cases.

       "We are confident that our talc products are, and always have been, free of
       asbestos, based on decades of monitoring, testing and regulation dating back to
       the 1970s," he said. "Historical testing of samples by the FDA, numerous
       independent laboratories, and numerous independent scientists have all confirmed
       the absence of asbestos in our talc products."

       64.     On this news, shares of J&J fell $7.29 per share or over 5% from its previous

closing price to close at $130.39 per share on February 5, 2018, damaging investors.

       65.     On February 7, 2018, during aftermarket hours, the Beasley Allen Law Firm

issued a press release stating that “[l]awsuits filed by ovarian cancer and mesothelioma victims

are revealing never-before-seen documents from Johnson & Johnson and talc supplier, Imerys,

that shed light on just how prevalent asbestos and heavy metals are in the talc used in Baby

Powder,” stating in pertinent part:

        New Johnson & Johnson, Imerys Documents Reveal More Cancer Links to Talc,
                                    Asbestos, Heavy Metals
       Published: Feb 7, 2018 5:01 p.m. ET

       Ovarian cancer victims demand answers amid growing findings from J&J trials

       ST. LOUIS, Feb. 7, 2018 /PRNewswire/ -- New information highlighting the
       links between talc, asbestos, heavy metals and cancer continue to surface as
       ovarian cancer victims use the legal system to press Johnson & Johnson for
       answers about the health risks of its popular talcum powder products, including
       Johnson's Baby Powder and Shower To Shower.

       Lawsuits filed by ovarian cancer and mesothelioma victims are revealing never-
       before-seen documents from Johnson & Johnson and talc supplier, Imerys, that
       shed light on just how prevalent asbestos and heavy metals are in the talc used in
       Baby Powder. The documents also show the corporations' response to growing
       concerns about cancer risks.

       "Over the last 90 days, we've seen a dramatic increase in document production
       from Johnson & Johnson and Imerys," said attorney Ted Meadows, principal at

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       the Beasley Allen law firm and co-lead counsel in litigation on behalf of
       thousands of women diagnosed with ovarian cancer. "These documents are highly
       relevant to our claims that Johnson & Johnson and Imerys have known about
       these risks for a long, long time."

       Cancer victims suing J&J and Imerys argue that the corporations failed to provide
       warning labels on talc products despite knowing for decades about talc's link to
       cancer. Although numerous cases have already been tried, the corporate
       giants continue to reveal more hidden information, adding to a growing body of
       knowledge about the safety of talc products and their response.

       "Even though we've already gone to trial against these companies on numerous
       occasions, they are just now getting around to turning over documents that are
       proving to be very significant in these cases," Mr. Meadows said.

       Earlier litigation uncovered these important elements:

       •     In a May 2017 trial on behalf of a woman whose ovarian tissue was found to
             contain talc, asbestos and heavy metals, an Israeli researcher testified that J&J
             had hired his lab to test talc samples for asbestos contamination. When a
             majority of the sample batches were found to be positive for asbestos, J&J
             stopped funding the project. A St. Louis jury returned a $110 million verdict
             against J&J and Imerys in that case.

       •     Internal Johnson & Johnson documents from 1972 note that asbestos was
             found in 100 percent of talc samples tested at the time, but this information
             was never released publicly.

       •     In a 1997 letter, a toxicology expert hired by J&J told the company that at
             least nine studies had shown a statistically significant ovarian cancer risk for
             women who apply talc products in their genital areas. The expert warned J&J
             at the time that its response to the cancer threat could cause a public opinion
             backlash similar to that faced by the tobacco industry when they denied
             cigarettes caused lung cancer.

       "Thanks to our courageous clients, all of us are finally getting a fuller picture of
       what these companies knew about the safety of their iconic talc products," Mr.
       Meadows said. "We're hopeful that these companies will once and for all
       acknowledge the concerns they have expressed in private for more than a
       generation."

       66.      As a result of Defendants’ wrongful acts and omissions, and the precipitous

decline in the market value of the Company’s securities, Plaintiff and other Class members have

suffered significant losses and damages.


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                       PLAINTIFF’S CLASS ACTION ALLEGATIONS

       67.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or

otherwise acquired J&J securities publicly traded on the NYSE during the Class Period (the

“Class”); and were damaged upon the revelation of the alleged corrective disclosures. Excluded

from the Class are Defendants herein, the officers and directors of the Company, at all relevant

times, members of their immediate families and their legal representatives, heirs, successors or

assigns and any entity in which Defendants have or had a controlling interest.

       68.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, J&J securities were actively traded on the NYSE.

While the exact number of Class members is unknown to Plaintiff at this time and can be

ascertained only through appropriate discovery, Plaintiff believes that there are hundreds or

thousands of members in the proposed Class. Record owners and other members of the Class

may be identified from records maintained by the Company or its transfer agent and may be

notified of the pendency of this action by mail, using the form of notice similar to that

customarily used in securities class actions.

       69.     Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

       70.     Plaintiff will fairly and adequately protect the interests of the members of the

Class and has retained counsel competent and experienced in class and securities litigation.

Plaintiff has no interests antagonistic to or in conflict with those of the Class.




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        71.       Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

        •         whether the federal securities laws were violated by Defendants’ acts as alleged
                  herein;
        •         whether statements made by Defendants to the investing public during the Class
                  Period misrepresented material facts about the financial condition, business,
                  operations, and management of the Company;
        •         whether Defendants’ public statements to the investing public during the Class
                  Period omitted material facts necessary to make the statements made, in light of
                  the circumstances under which they were made, not misleading;
        •         whether the Individual Defendants caused the Company to issue false and
                  misleading SEC filings and public statements during the Class Period;
        •         whether Defendants acted knowingly or recklessly in issuing false and misleading
                  SEC filings and public statements during the Class Period;
        •         whether the prices of J&J securities during the Class Period were artificially
                  inflated because of the Defendants’ conduct complained of herein; and
        •         whether the members of the Class have sustained damages and, if so, what is the
                  proper measure of damages.


        72.       A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation make it impossible for members of the Class to individually

redress the wrongs done to them. There will be no difficulty in the management of this action as

a class action.



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       73.     Plaintiff will rely, in part, upon the presumption of reliance established by the

fraud-on-the-market doctrine in that:

       •       Defendants made public misrepresentations or failed to disclose material facts
               during the Class Period;
       •       the omissions and misrepresentations were material;
       •       J&J securities are traded in efficient markets;
       •       the Company’s securities were liquid and traded with moderate to heavy volume
               during the Class Period;
       •       the Company traded on the NYSE, and was covered by multiple analysts;
       •       the misrepresentations and omissions alleged would tend to induce a reasonable
               investor to misjudge the value of the Company’s securities; and
       •       Plaintiff and members of the Class purchased and/or sold J&J securities between
               the time the Defendants failed to disclose or misrepresented material facts and the
               time the true facts were disclosed, without knowledge of the omitted or
               misrepresented facts.
       74.     Based upon the foregoing, Plaintiff and the members of the Class are entitled to a

presumption of reliance upon the integrity of the market.

       75.     Alternatively, Plaintiff and the members of the Class are entitled to the

presumption of reliance established by the Supreme Court in Affiliated Ute Citizens of the State

of Utah v. United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material

information in their Class Period statements in violation of a duty to disclose such information,

as detailed above.




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                                            COUNT I

                Violation of Section 10(b) of The Exchange Act and Rule 10b-5
                                    Against All Defendants

        76.     Plaintiff repeats and realleges each and every allegation contained above as if

fully set forth herein.

        77.     This Count is asserted against the Company and the Individual Defendants and is

based upon Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated

thereunder by the SEC.

        78.      During the Class Period, the Company and the Individual Defendants,

individually and in concert, directly or indirectly, disseminated or approved the false statements

specified above, which they knew or deliberately disregarded were misleading in that they

contained misrepresentations and failed to disclose material facts necessary in order to make the

statements made, in light of the circumstances under which they were made, not misleading.

        79.     The Company and the Individual Defendants violated §10(b) of the 1934 Act and

Rule 10b-5 in that they:

        •       employed devices, schemes and artifices to defraud;
        •       made untrue statements of material facts or omitted to state material facts
                necessary in order to make the statements made, in light of the circumstances
                under which they were made, not misleading; or
        •       engaged in acts, practices and a course of business that operated as a fraud or
                deceit upon plaintiff and others similarly situated in connection with their
                purchases of J&J securities during the Class Period.


        80.     The Company and the Individual Defendants acted with scienter in that they knew

that the public documents and statements issued or disseminated in the name of the Company


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were materially false and misleading; knew that such statements or documents would be issued

or disseminated to the investing public; and knowingly and substantially participated, or

acquiesced in the issuance or dissemination of such statements or documents as primary

violations of the securities laws. These defendants by virtue of their receipt of information

reflecting the true facts of the Company, their control over, and/or receipt and/or modification of

the Company’s allegedly materially misleading statements, and/or their associations with the

Company which made them privy to confidential proprietary information concerning the

Company, participated in the fraudulent scheme alleged herein.

       81.      Individual Defendants, who are the senior officers and/or directors of the

Company, had actual knowledge of the material omissions and/or the falsity of the material

statements set forth above, and intended to deceive Plaintiff and the other members of the Class,

or, in the alternative, acted with reckless disregard for the truth when they failed to ascertain and

disclose the true facts in the statements made by them or other personnel of the Company to

members of the investing public, including Plaintiff and the Class.

       82.     As a result of the foregoing, the market price of J&J securities was artificially

inflated during the Class Period. In ignorance of the falsity of the Company’s and the Individual

Defendants’ statements, Plaintiff and the other members of the Class relied on the statements

described above and/or the integrity of the market price of J&J securities during the Class Period

in purchasing J&J securities at prices that were artificially inflated as a result of the Company’s

and the Individual Defendants’ false and misleading statements.

       83.     Had Plaintiff and the other members of the Class been aware that the market price

of J&J securities had been artificially and falsely inflated by the Company’s and the Individual

Defendants’ misleading statements and by the material adverse information which the



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Company’s and the Individual Defendants did not disclose, they would not have purchased J&J

securities at the artificially inflated prices that they did, or at all.

        84.      As a result of the wrongful conduct alleged herein, Plaintiff and other members

of the Class have suffered damages in an amount to be established at trial.

        85.     By reason of the foregoing, the Company and the Individual Defendants have

violated Section 10(b) of the 1934 Act and Rule 10b-5 promulgated thereunder and are liable to

the Plaintiff and the other members of the Class for substantial damages which they suffered in

connection with their purchases of J&J securities during the Class Period.

                                                COUNT II

                          Violation of Section 20(a) of The Exchange Act
                                Against The Individual Defendants

        86.     Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

        87.     During the Class Period, the Individual Defendants participated in the operation

and management of the Company, and conducted and participated, directly and indirectly, in the

conduct of the Company’s business affairs. Because of their senior positions, they knew the

adverse non-public information regarding the Company’s business practices.

        88.     As officers and/or directors of a publicly owned company, the Individual

Defendants had a duty to disseminate accurate and truthful information with respect to the

Company’s financial condition and results of operations, and to correct promptly any public

statements issued by the Company which had become materially false or misleading.

        89.     Because of their positions of control and authority as senior officers, the

Individual Defendants were able to, and did, control the contents of the various reports, press

releases and public filings which the Company disseminated in the marketplace during the Class

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Period. Throughout the Class Period, the Individual Defendants exercised their power and

authority to cause the Company to engage in the wrongful acts complained of herein. The

Individual Defendants therefore, were “controlling persons” of the Company within the meaning

of Section 20(a) of the Exchange Act. In this capacity, they participated in the unlawful conduct

alleged which artificially inflated the market price of J&J securities.

       90.        Each of the Individual Defendants, therefore, acted as a controlling person of the

Company. By reason of their senior management positions and/or being directors of the

Company, each of the Individual Defendants had the power to direct the actions of, and

exercised the same to cause, the Company to engage in the unlawful acts and conduct

complained of herein. Each of the Individual Defendants exercised control over the general

operations of the Company and possessed the power to control the specific activities which

comprise the primary violations about which Plaintiff and the other members of the Class

complain.

       91.        By reason of the above conduct, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act for the violations committed by the Company.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against Defendants as follows:

       A.         Determining that the instant action may be maintained as a class action under

Rule 23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the Class

representative;

       B.         Requiring Defendants to pay damages sustained by Plaintiff and the Class by

reason of the acts and transactions alleged herein;




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       C.      Awarding Plaintiff and the other members of the Class prejudgment and post-

judgment interest, as well as their reasonable attorneys’ fees, expert fees and other costs; and

       D.      Awarding such other and further relief as this Court may deem just and proper.

                               DEMAND FOR TRIAL BY JURY

       Plaintiff hereby demands a trial by jury.



Dated: February 8, 2018                       Respectfully submitted,

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